                                          1   Wesley D. Ray (SBN 026351)
                                              Wesley.Ray@SacksTierney.com
                                          2   SACKS TIERNEY P.A.
                                              4250 N. Drinkwater Blvd., 4th Floor
                                          3   Scottsdale, AZ 85251-3693
                                              Telephone: 480.425.2600
                                          4   Facsimile: 480.970.4610
                                              Attorneys for Lincoln Capital Partnership, LLLP
                                          5

                                          6
                                                                         UNITED STATES BANKRUPTCY COURT
                                          7
                                                                                  DISTRICT OF ARIZONA
                                          8

                                          9   In re:                                          Chapter 7 Proceedings
                                         10   JEFFREY T. CHRISTENSON and                      No. 2:18-bk-05678-DPC
                                              SHARON R. CHRISTENSON,
                                         11                                                   APPLICATION FOR RULE 2004
                                                         Debtors.                             EXAMINATION AND PRODUCTION OF
                       P.A., ATTORNEYS




                                         12                                                   DOCUMENTS
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         13
             FOURTH FLOOR




                                         14            Lincoln Capital Partnership, LLLP (“Lincoln Capital”), creditor and party in interest in the
SACKS TIERNEY




                                         15   above captioned bankruptcy case, hereby applies, pursuant to Rule 2004 of the Federal Rules of

                                         16   Bankruptcy Procedure, for an order directing (a) Jeffrey T. Christenson and Sharon R. Christenson

                                         17   (“Debtors”) to appear for an examination to be scheduled on a date and time agreeable to the

                                         18   parties, or, if upon notice, after not less than 21 days' notice, and (b) the Debtors to produce the

                                         19   documents identified in Exhibit “A” hereto on a date and time agreeable to the parties, or, if upon

                                         20   notice, after not less than 14 days' notice, at the law office of Sacks Tierney, PA, 4250 N

                                         21   Drinkwater Blvd. 4th Floor, Scottsdale, Arizona 85251. This Motion is supported by the following

                                         22   Memorandum of Points and Authorities.

                                         23                         MEMORANDUM OF POINTS AND AUTHORITIES

                                         24            Rule 2004 of the Federal Rules of Bankruptcy Procedure provides, in relevant part, that on

                                         25   motion of any party in interest, the Court may order the examination of any entity or person

                                         26   regarding the acts, conduct, property, liabilities and financial condition of the debtor, or any other

                                         27   matter which affects the administration of the debtor’s estate. “The scope of inquiry under Rule

                                         28   2004 is very broad. Great latitude of inquiry is ordinarily permitted.” In re MITTCO, Inc., 44 B.R.


                                         Case2176515.v2
                                              2:18-bk-05678-DPC          Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36                Desc
                                                                          Main Document    Page 1 of 8
                                          1 35, 36 (Bankr. E.D. Wis. 1984); see In re Drexel Burnham Lambert Group, Inc., 123 B.R. 702, 711

                                          2 (Bankr. S.D.N.Y. 1991) (“[Rule 2004] can be legitimately compared to a fishing expedition.”).

                                          3          Lincoln Capital is a creditor of the Debtors holding a claim of approximately $688,000. If
                                          4 the Debtors schedules are to be believed, despite a relatively high level of income, the Debtors

                                          5 have amassed few assets that can be liquidated through these proceedings, and the most likely

                                          6 source of a substantial payment to creditors the disposition of the Debtors’ 100% ownership

                                          7 interest in Christenson Wealth Management, LLC (“CWM”). Lincoln Capital desires to examine

                                          8 the Debtors as to their acts, conduct, property, liabilities and financial condition, and to those of

                                          9 CWM, to determine the nature and extent of the assets available to be administered for the benefit

                                         10 of the Debtors’ creditors.

                                         11          WHEREFORE, Lincoln Capital respectfully requests that this Court enter the order lodged
                                         12
                                              concurrently herewith, pursuant to Fed. R. Bankr. P. 2004, requiring the Debtors to appear for oral
                       P.A., ATTORNEYS




                                         13
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                              examination on a date and time agreeable to the parties or, if upon notice, after not less than 21
                                         14
             FOURTH FLOOR




                                              days' notice, and produce the documents identified in Exhibit “A” hereto on a date and time
                                         15
SACKS TIERNEY




                                         16 agreeable to the parties or, if upon notice, after not less than 14 days' notice.

                                         17          DATED: August 9, 2018
                                         18                                                 SACKS TIERNEY, P.A.
                                         19
                                                                                            By:
                                         20                                                       Wesley D. Ray
                                                                                                  Attorneys for Lincoln Capital Partnership,
                                         21                                                       LLLP
                                              COPY of the foregoing emailed on
                                         22 August 9, 2018, to:

                                         23 Thomas Allen                                          David M. Reaves
                                            ALLEN BARNES & JONES, PLC                             P.O. Box 44320
                                         24 1850 N. Central Avenue, Suite 1150                    Phoenix, Arizona 85064
                                            Phoenix, Arizona 85004                                Trustee@reaves-law.com
                                         25 Tallen@allenbarneslaw.com                             Chapter 7 Trustee
                                            Attorneys for Debtors
                                         26

                                         27 /s/ Cathie Misquez
                                         28

                                                                                                  2
                                         Case2176515.v2
                                              2:18-bk-05678-DPC          Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36             Desc
                                                                          Main Document    Page 2 of 8
                                          1                                              EXHIBIT A
                                          2                                            DEFINITIONS

                                          3          1.     As used in these requests “you,” “Debtor,” or “Debtors” means Jeffrey T.

                                          4 Christenson and Sharon R. Christenson, and each of them individually, and their respective

                                          5 affiliates, agents, and successors in interest, and any person, entity or enterprise in which they hold

                                          6 any ownership interest, or over which they exercise any level of control.

                                          7          2.     As used in these requests, the “Bankruptcy” shall mean Bankruptcy Case No. 2:18-

                                          8 bk-05678-DPC pending in the United States Bankruptcy Court for the District of Arizona.

                                          9          3.     As used herein, “CWM” shall mean Christenson Wealth Management, LLC and its

                                         10 present and former subsidiaries, affiliates, agents, and divisions; its predecessors-in-interest; its

                                         11 successors-in-interest; its present and former members, managers, officers, directors, agents, or

                                         12 attorneys; any person controlling, controlled by, or under common control with it; and any person
                       P.A., ATTORNEYS




                                         13 acting on behalf of any of the aforementioned parties.
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         14          4.     As used in these requests, the term “communication” includes oral, graphic,
             FOURTH FLOOR




                                         15 demonstrative, telephonic, verbal, electronic, written, or any other conveyance of information,
SACKS TIERNEY




                                         16 including “documents” as defined hereafter.

                                         17          5.     As used in these requests, the conjunctions “and” and “or” shall be construed both

                                         18 conjunctively and disjunctively and each shall include the other whenever such dual construction

                                         19 will serve to bring within the scope of these requests for production information and/or documents

                                         20 which otherwise would not be brought within their scope.

                                         21          6.     As used in these requests, the term “document(s)” includes all electronic media and

                                         22 tangible forms in which intelligence or information is stored, as well as all written or graphic

                                         23 matter of every type and description, however produced or reproduced, whether draft or final,

                                         24 original or reproduction, including but not limited to electronic mail messages, text messages,

                                         25 electronic data files (including textual, spreadsheet and database files), web pages, letters,

                                         26 communications, correspondence, handwritten notes, memoranda, transcripts or minutes of

                                         27 meetings, contracts, agreements, licenses, illustrations, films, microfilm, telegrams, written
                                         28 analyses, reports, memoranda made of any oral communications, papers, books, newspaper

                                                                                               3
                                         Case2176515.v2
                                              2:18-bk-05678-DPC         Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36                Desc
                                                                         Main Document    Page 3 of 8
                                          1 articles, magazines, advertisements, periodicals, bulletins, circulars, pamphlets, statements, notices,

                                          2 rules, regulations, directives, teletype and telefax messages, intraoffice and interoffice

                                          3 communications, financial statements, ledgers, books of account, proposals, prospectuses, offers,

                                          4 orders, receipts, returns, invoices, cancelled checks, statistics, studies, working papers, calendars,

                                          5 appointment books, diaries, journals, time sheets, logs, movies, tapes for visual or audio

                                          6 reproduction, recordings or materials similar to any of the foregoing, however denominated, and

                                          7 including writings, forms, drawings, graphs, charts, photographs, data processing results, printouts

                                          8 and computations (both in existence and stored in memory components) and other compilations

                                          9 from which information can be obtained or translated, if necessary, through detection devices into

                                         10 reasonably usable form, as well as all drafts, alterations, modifications, changes, amendments,

                                         11 suspensions and interpretations of any of the foregoing and any records of documents that have

                                         12 been destroyed. The term “document(s)” includes all copies of a document which contain any
                       P.A., ATTORNEYS




                                         13 additional writing, underlining, notes, deletions or any other markings or notations, or are
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         14 otherwise not identical copies of the original.
             FOURTH FLOOR




                                         15          7.      As used herein, “Dragoo” means Douglas Dragoo and his affiliates, agents,
SACKS TIERNEY




                                         16 successors in interest, and any entity or enterprise in which he holds any ownership interest, or

                                         17 over which he exercises any level of control.

                                         18          8.      As used herein, the term “evidencing” means constituting, mentioning, describing,
                                         19 concerning, referring to, supplementing, amending, superseding, replacing, modifying, or

                                         20 pertaining to, in whole or in part, the subject matter of the particular requests.

                                         21          9.      As used in these requests, the terms “individual,” “person,” or “persons” include
                                         22 natural persons, firms, partnerships, limited liability companies, professional limited liability

                                         23 companies, associations, joint ventures and corporations, or any business, legal or government

                                         24 entity, organization or association.

                                         25          10.     “Lincoln Capital” refers to Lincoln Capital Partnership LLLP and its partners,
                                         26 agents, representatives, employees, and affiliates.

                                         27          11.     “Petition” shall mean the Voluntary Petition for Individuals Filing Bankruptcy filed
                                         28 by the Debtors, thereby commencing the Bankruptcy.

                                                                                                4
                                         Case2176515.v2
                                              2:18-bk-05678-DPC          Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36               Desc
                                                                          Main Document    Page 4 of 8
                                          1          12.    “Petition Date” shall mean May 18, 2018.
                                          2          13.    As used in these requests, the terms “relates to” and “refers to” (including other
                                          3 tense forms of those terms) means describing, constituting, reflecting, showing, memorializing,

                                          4 comprising, considering, discussing, regarding, setting forth, studying, analyzing, commenting

                                          5 upon, recommending, alluding to, or mentioning, in whole or in part.

                                          6          14.    “Schedules” shall refer to the schedules of assets and liabilities, and the statement of
                                          7 financial affairs, filed by the Debtors in the Bankruptcy, along with all amendments thereto.

                                          8          15.    As used herein, “Storage Units” shall mean the storage units in Arizona and Hawaii
                                          9 identified in the Debtors’ Schedules, and any other storage unit or facility into which the Debtors

                                         10 have placed any property.

                                         11                                           INSTRUCTIONS
                                         12          1.     Each request is to be answered fully, and you must divulge all information and
                       P.A., ATTORNEYS




                                         13 documentation that is in your custody, in the custody of your agents, attorneys, affiliates, or other
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         14 representatives, or the custody of any other person, where you: (a) own such document in whole or
             FOURTH FLOOR




                                         15 in part; (b) have a right by contract, statute or otherwise to use, inspect, examine or copy such
SACKS TIERNEY




                                         16 document on any terms; (c) have an understanding, express or implied, that you may use, inspect,

                                         17 examine or copy such document on any terms; or (d) have, as a practical matter, been able to use,

                                         18 inspect, examine or copy such document when you have sought to do so.

                                         19          2.     Each responsive document should be produced in its entirety, including all
                                         20 attachments and enclosures, even if only a portion of the document is responsive to the request.

                                         21          3.     All electronically stored documents and information must be produced in the same
                                         22 form or forms in which it is ordinarily maintained.            Specifically, all electronically stored
                                         23 information must be produced in its native format, so that the metadata can be accessed.

                                         24          4.     If any document or communication requested was at one time in existence, but is no
                                         25 longer in existence, please state for each document or communication as to which that is the case:

                                         26                         a)     The type of document or communication;
                                                                    b)     The types of information contained therein;
                                         27                         c)     The date upon which it ceased to exist;
                                                                    d)     The circumstances under which it ceased to exist;
                                         28

                                                                                               5
                                         Case2176515.v2
                                              2:18-bk-05678-DPC          Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36               Desc
                                                                          Main Document    Page 5 of 8
                                          1                          e)      The identity of all persons having knowledge of the circumstances
                                                                             under which it ceased to exist; and
                                          2                          f)      The identity of all persons having knowledge, or who had
                                                                             knowledge, of the contents thereof.
                                          3
                                                     5.      Where an individual request calls for an answer that involves more than one part,
                                          4
                                              each part of the answer should be clearly set out so that it is understandable.
                                          5
                                                     6.      All verbs shall be construed to include all tenses.
                                          6
                                                     7.      The use of a word in its singular form shall be deemed to include its use in the
                                          7
                                              plural form as well, and the use of a word in its plural form shall be deemed to include its use in
                                          8
                                              the singular form as well.
                                          9
                                                     8.      Each request, and each subpart of any request, should be construed independently
                                         10
                                              and not be referenced to any other request for purposes of limitation.
                                         11
                                                     9.      If you decline to answer a request based on a claim of privilege or on any other
                                         12
                                              basis, please state for each document or communications as to which that is the case:
                       P.A., ATTORNEYS




                                         13
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                                                     a)      The name of each author, writer, sender or initiator of each such
                                         14                                  document or communication;
                                                                     b)      The name of each recipient, addressee or party to whom such
             FOURTH FLOOR




                                         15                                  document or communication was sent or intended to be sent;
SACKS TIERNEY




                                                                     c)      The name of each and every person who received a copy of the
                                         16                                  document or communication;
                                                                     d)      The date of the document or communication, or, if no date appears
                                         17                                  on the document or communication, the date the document or
                                                                             communication was prepared;
                                         18                          e)      The title of the document or communication, or if it has no title, then
                                                                             such other description of the document or communication and its
                                         19                                  subject matter as shall be sufficient to identify the document; and
                                                                     f)      The grounds claimed for withholding the document or
                                         20                                  communication from discovery (e.g., attorney-client privilege, work
                                                                             product, or any other grounds), and the factual basis for such a claim.
                                         21
                                                     10.     As to each document produced, you should designate the request to which such
                                         22
                                              document is responsive.
                                         23
                                                     11.     These requests shall be deemed continuing so as to require further and supplemental
                                         24
                                              answers, without notice or demand. If you should obtain information with respect to the subject
                                         25
                                              matter of any of these requests after your answer to these requests is served which renders the
                                         26
                                              answers thereto incomplete, inaccurate or in any way misleading, you are required to supplement
                                         27
                                              the answer previously given.
                                         28

                                                                                                 6
                                         Case2176515.v2
                                              2:18-bk-05678-DPC            Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36              Desc
                                                                            Main Document    Page 6 of 8
                                          1                       REQUESTS FOR PRODUCTION OF DOCUMENTS
                                          2          Please produce the following:
                                          3          1.     All documents and communications relating to or evidencing any compensation,
                                          4 equity distribution, reimbursement, commission, or other payment or benefit of any kind received

                                          5 by the Debtors in the year preceding the Petition Date.

                                          6          2.     All statements, for the two years preceding the Petition Date, for any bank, savings,
                                          7 checking, brokerage, investment, deposit, trust, or other account owned by the Debtors or CWM,

                                          8 or used to make any payment to, or on account of, the Debtors or CWM.

                                          9          3.     All documents and communications, including organizational documents, relating to
                                         10 or evidencing any firms, partnerships, limited liability companies, professional limited liability

                                         11 companies, associations, joint ventures, corporations, trusts or any other business, legal or

                                         12 government entity, organization or association in which, in the four years preceding the Petition
                       P.A., ATTORNEYS




                                         13 Date, (a) the Debtors held an ownership interest, (b) over which the Debtors exercised any control,
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         14 or (c) to which the Debtors transferred any property.
             FOURTH FLOOR




                                         15          4.     All documents and communications relating to or evidencing the contents of the
SACKS TIERNEY




                                         16 Storage Units, and any property transferred into or out of the Storage Units from May 18, 2014 to

                                         17 the present date.

                                         18          5.     All documents and communications relating to or evidencing (a) the robbery that
                                         19 allegedly occurred in Dallas, Texas in, or around 2017, (b) the identity and value of the property

                                         20 that was allegedly stolen, (c) any resulting claim submitted to an insurance company, and (d) the

                                         21 receipt and subsequent use of any insurance proceeds received as a result thereof.

                                         22          6.     All insurance policies under which the Debtors or CWM is an insured, or under
                                         23 which a creditor of the Debtors or CWM may otherwise have recourse.

                                         24          7.     All documents and communication relating to or supporting the Debtors’ assertion,
                                         25 made in Section16 of the Petition, that their debts are primarily business debts.

                                         26          8.     All documents and communications relating to or evidencing any offer or
                                         27 expression of interest regarding any potential sale of CWM or any of its assets.
                                         28

                                                                                               7
                                         Case2176515.v2
                                              2:18-bk-05678-DPC         Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36              Desc
                                                                         Main Document    Page 7 of 8
                                          1          9.     All documents and communications relating to, evidencing, or reflecting the identity
                                          2 or value of any of the assets of CWM. This request includes, but is not limited to, all financial

                                          3 statements, profit and loss statements, balance sheets, electronic accounting records (e.g.

                                          4 Quickbooks or Quicken), and any other financial reports or summaries, whether formal or

                                          5 informal, and all tax returns and supporting documents prepared, delivered to a tax preparer, or

                                          6 kept in the four years preceding the Petition Date.

                                          7          10.    All contracts or agreements pursuant to which CWM may be entitled to receive any
                                          8 payment or benefit, or pursuant to which the Debtors may be entitled to receive any payment on

                                          9 account of goods or services offered by or through CWM.

                                         10          11.    A detailed schedule of CWM’s accounts receivable.
                                         11          12.    All documents and communications, including agreements and schedules, relating
                                         12 to or evidencing the relationship between CWM and Cetera Financial Group.
                       P.A., ATTORNEYS




                                         13          13.    All documents and communications relating to or evidencing any life insurance or
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         14 investment product or account under which the Debtors or CWM are the owner, insured, or
             FOURTH FLOOR




                                         15 beneficiary.
SACKS TIERNEY




                                         16          14.    All documents and communications relating to or evidencing (a) Lincoln Capital,
                                         17 (b) Dragoo, (c) the nature and validity of Lincoln Capital’s claim against CWM and the Debtors,

                                         18 and (d) the circumstances and transactions giving rise to Lincoln Capital’s claim against CWM and

                                         19 the Debtors, including, but not limited to, any documents or communications relating to or

                                         20 evidencing any agreements, restrictions, or limitations relating to the use by the Debtors or CWM

                                         21 of funds received from Lincoln Capital or Dragoo.

                                         22

                                         23

                                         24

                                         25

                                         26

                                         27
                                         28

                                                                                              8
                                         Case2176515.v2
                                              2:18-bk-05678-DPC        Doc 28 Filed 08/09/18 Entered 08/09/18 10:34:36              Desc
                                                                        Main Document    Page 8 of 8
